Case 1:17-cv-00443-CBA-JO Document 29 Filed 04/25/17 Page 1 of 1 PageID #: 233



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X
ALLSTATE INSURANCE
COMPANY, et al,                                                  ORDER
                                      Plaintiffs,
                   - against -
ELITE MEDICAL SUPPLY OF
NEW YORK, et al,                                                 17-CV-0443 (CBA) (JO)
                                      Defendants.
----------------------------------------------------------X

JAMES ORENSTEIN, Magistrate Judge:

         Pursuant to Administrative Order 2004-08 and my individual practices, all attorneys are
required to register to receive Electronic Case Filing ("ECF") notifications from the court.
In the above captioned case, the Clerk's Office received notice that Robert E. Dash, Esq., counsel for
the Cohen defendants (see docket entry [27]), is not registered to receive ECF notifications. Mr. Dash
is directed to register to receive ECF notifications in this case within ten (10) days. Registration
requires registering for ECF and filing a notice of appearance in this case. Failure to comply with this
order may result in sanctions.


         SO ORDERED.

Dated: Brooklyn, New York
       April 25, 2017
                                                                         _       /s/
                                                                         JAMES ORENSTEIN
                                                                         U.S. Magistrate Judge
